      Case 1:23-cv-10724-GAO           Document 179         Filed 04/23/25     Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
DMO METHUEN, LLC d/b/a DAN          )
O’BRIEN CHRYSLER DODGE              )
JEEP RAM,                           )
                                    )
            Plaintiff,              )
                                    )                        Civil Action No. 23-10724-GAO
                    v.              )
                                    )
FCA US, LLC, RYAN MORRIS,           )
and VINCENT ANDRADE,                )
                                    )
            Defendants.             )
____________________________________)

                      ORDER ON PLAINTIFF’S MOTION TO COMPEL
                                  [Docket No. 118]

                                          April 23, 2025

Boal, M.J.

       Plaintiff DMO Methuen d/b/a Dan O’Brien Chrysler Dodge Jeep RAM (“DMO”) has

moved to compel defendant FCA US, LLC to produce certain documents and fully respond to

certain interrogatories. Docket No. 118. 1 After careful consideration of the parties’

submissions, as well as the arguments made at the April 2, 2025, hearing, I rule as follows.

       Interrogatory Nos. 6, 14, 19 and RFP No. 17. Based upon the representations made at

the April 2, 2025, hearing, the motion to compel is denied as moot as to these requests.

       Interrogatory No. 2. This interrogatory requests that FCA identify all persons with

knowledge of the facts and circumstances outlined in the Complaint and FCA’s Second




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 On May 26, 2023, Judge O’Toole referred this case to the undersigned for full pretrial
management, and report and recommendation on dispositive motions. Docket No. 35.
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         Case 1:23-cv-10724-GAO         Document 179        Filed 04/23/25     Page 2 of 5




Amended Counterclaim and describe the facts of which they have knowledge. Docket No. 119-1

at 6. On October 31, 2024, FCA provided a list of fifteen individuals, but no specific description

of their knowledge. Docket No. 119-1 at 6-8. The individuals were current or former DMO

employees, current or former FCA employees, and a prospective purchaser of DMO’s

dealership. After taking depositions of key witnesses, on January 30, 2025, 2 DMO moved to

compel information about each identified person’s knowledge. Docket No. 118. In its moving

papers, however, DMO focused on the harm caused by FCA not providing this information for

its current and former employees. Docket No. 119 at 4-5. For that reason, and given the timing

of the motion to compel, this Court will order FCA to provide only a description of the relevant

knowledge possessed by its current or former employees.

          Interrogatory No. 10. This interrogatory asks FCA to identify each VIN that was part of

the warranty fraud for whom a customer could not be reached or located for the purposes of

making a disclosure about the warranty fraud. Docket No. 119-1 at 13. Since the filing of

DMO’s motion, FCA provided a spreadsheet in response. At oral argument, DMO made certain

complaints about the spreadsheet. In response to those complaints, FCA must provide a copy of

the spreadsheet in native format and with initials for each customer.

          Interrogatory No. 12. This interrogatory asks FCA to identify all persons at FCA

responsible for ensuring that removed air bags are returned to FCA. Id. at 14. FCA’s response

stated that it incorporated by reference documents produced or to be produced in this litigation

regarding the instructions and processes to return recalled airbag parts to FCA. Id. at 14-15. At

oral argument, it responded that the answer to this request involved information from or in the

possession of third parties. Id. FCA must provide its response in an interrogatory answer, as



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    At that time, discovery was scheduled to end on February 14, 2025. See Docket Nos. 116, 117.
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       Case 1:23-cv-10724-GAO           Document 179         Filed 04/23/25      Page 3 of 5




well as any information that it has in its custody, possession, or control about the identities of

those third parties.

        Interrogatory No. 13. This interrogatory asks FCA to identify all persons at Aero Global

who made parts deliveries to DMO Methuen from January 1, 2021, through October 1, 2021. Id.

at 15. At oral argument, FCA represented that it had obtained a spreadsheet from Aero Global

showing relevant information about Aero Global’s employees. It need do no more.

        Interrogatory No. 17. This interrogatory asks FCA to identify and provide information

about all vehicles by VIN that were involved in the fraud and are presently registered in the

United States or are otherwise legal to operate on the public roads of the United States. Id. at 17.

At oral argument, FCA explained the steps it took to determine if the subject vehicles were still

on the road. FCA must provide that information in the form of an interrogatory response.

        RFP No. 2. This request seeks all documents and communications concerning the

allegations in the Complaint. Docket No. 119-3 at 5. In its motion to compel, DMO asserts that

this request is inclusive of five sub-categories of later-identified requests. Docket No. 119 at 6-

10. FCA asserts that it provided information for sub-categories one, two, and four, either before

or after DMO filed the instant motion. Docket No. 139 at 7, 9. In its reply brief, DMO did not

identify any deficiencies with the information provided after the motion was filed, namely for

sub-categories one and two. Docket No. 145. In addition, this Court finds that the initial request

and the remaining sub-categories are overbroad. Therefore, the motion to compel is denied as to

this request.

        RFP No. 3. This request seeks all documents and communications concerning FCA’s

Second Amended Counterclaims. Docket No. 119-3 at 5. This request is overbroad and is

therefore denied on that basis.



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       Case 1:23-cv-10724-GAO           Document 179        Filed 04/23/25      Page 4 of 5




        RFP No. 10. This request seeks all documents and communications between FCA and all

persons whose vehicles were involved in the purported warranty fraud at DMO Methuen. Id. at

8. FCA asserts that it already has provided this information. Docket No. 139 at 12. DMO did

not identify any deficiencies in its reply brief. Docket No. 145. Therefore, the motion to compel

is denied as to this request.

        RFP Nos. 14, 15 and 18. I find that FCA’s responses to these requests are sufficient.

Therefore, the motion to compel is denied as to these requests on that basis.

        RFP No. 33. This request seeks all documents and communications with the National

Highway Traffic Safety Administration (“NHTSA”) concerning the 2,688 warranty and recall

repair orders at issue in the Complaint and FCA’s Second Amended Counterclaims. Docket No.

119-3 at 19. In its motion, DMO also asserts that it seeks “records from FCA as to what was

reported to NHTSA concerning [a] trailer hitch recall fraud at the other Massachusetts FCA

dealership as well as DMO’s recall fraud.” Docket No. 119 at 16. However, the trailer hitch

request is new and not covered by the original request. It is therefore denied on that basis.

Regarding the initial request, DMO asserts in its reply brief that FCA provided a heavily

redacted production five days after filing the opposition to the instant motion. Docket No. 145 at

4. DMO requests that this Court perform an in camera review of that production. Id. In general,

redactions of otherwise responsive documents are improper. See, e.g., Sexual Minorites of

Uganda v. Lively, No. 3:12-30051-MAP, 2015 WL 4750931, at * 4 (D. Mass. Aug. 10, 2015).

FCA must justify the redactions and address DMO’s request for in camera review. DMO must

respond within one week thereafter.

        Accordingly, this Court grants in part and denies in part DMO’s motion. On April 11,

2025, DMO’s counsel filed a motion to withdraw and indicated that new counsel would enter an



                                                 4
      Case 1:23-cv-10724-GAO          Document 179        Filed 04/23/25      Page 5 of 5




appearance in the near future. Within two weeks of any such appearance, FCA must provide

responses in accordance with this ruling. DMO’s request for fees is denied.

       So Ordered.

                                                     /s/ Jennifer C. Boal
                                                   JENNIFER C. BOAL
                                                   U.S. MAGISTRATE JUDGE




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